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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHRISTINA PRUKALA,
Plaintiff, :
V. : 3:19-CV-1791
(JUDGE MARIANI)
CHASE BANK, N.A.,
Defendant.
ORDER
AND NOW, THIS / DAY OF SEPTEMBER, 2020, for the reasons set forth in

this Court’s accompanying memorandum opinion, IT IS HEREBY ORDERED THAT
Defendant's Motion to Dismiss Plaintiffs Amended Complaint (Doc. 9) is GRANTED, and
Plaintiffs Amended Complaint is DISMISSED WITHOUT LEAVE TO AMEND. The Clerk of

Court is directed to CLOSE this case.

 

 

Robert D. Mariani
United States District Judge
